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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,

 Plaintiff,

 vs.

 THOMAS FISHER,

 Defendant.                                                    No. 07-CR-30136


                                     ORDER

 HERNDON, Chief Judge:

              Before the Court is a motion to continue sentencing submitted by

 Defendant Thomas Fisher. (Doc. 36.) For the reasons stated in said motion, the

 Court GRANTS the motion to continue sentencing. (Doc. 36.) The sentencing is

 rescheduled for June 6, 2008 at 2:30 p.m.

              IT IS SO ORDERED.

              Signed this 27th day of February, 2008.


                                                   /s/    DavidRHerndon
                                                   Chief Judge
                                                   United States District Court




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